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                                                            Ray Kent
                                                            United States Magistrate Judge
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